Case 2:05-cv-02438-.]DB-dkv Document 17 Filed 08/29/05 Page 1 of 2 Page|D 5

 

 

Fn£o sir .` _ o.c.
IN THE UNITED sTATEs nisTRICT COURT
FoR THE WESTERN DlSTRICT oF TENNESSEE 05 AUG 29 AH lO= h3
wESTERN DIvIsIoN
MICHAEL GREEN,
ANTONIUS HART,
enoch MORRIS, and
CEDRIC CAUSEY,
Plaintiffs,

\/Fj NO. 05-2433 BV

UNION PLANTERS BANK
NATIONAL ASSOCIATION, d/b/a
UNION PLANTERS BANK,

Defendant.

 

ORDER SETTING STATUS C()NFERENCE

 

This malter came on to be heard upon the Plaintiffs’ motion for a status conference, upon
L.R. 7.()2 Ccrtit`icate of`ConSultation of Counsel, and upon the entire record in the cause, l`rorn all
of which the Court finds that said motion is well taken and should be granted

lT lS THEREFORE ORDERED, ADJUDGED AND DECREED that a Status conference be

  

scheduled l"or the [ 5+ day ol` , , at C}';[g,’ §L.M.

/M…

D NIEL BREEN
ni d States District Courl Judge

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This clocu nent entered on the docket heat |n coinp: lance
W m sure 53 answer ?Q(a} FncP en 8 92 f/ 05

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02438 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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US DISTRICT COURT

